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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF LOUISIANA
                            MDL NO. 2179
                         *
                         *
                         *
Economic and Property Damages
                         *
                         *
                              Settlement
                         *
Medical Settlement       *
                         *
                         *
                         *
                         *
                         *




                                                                               1
Geographical Location – Gulf Coast Areas
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                Standard Approach

• Causation

• Documentation

• Calculate Compensation

• Apply RTP (if applicable)

• Deduct Cash Credits (if applicable)

                                                                              13
                                  Zone Presumptions
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                     Presumption Zone      Presumption Zone
                                                                       Zone C                  Zone D
                            A                     B



Seafood Industry
         Primary
                     Gets Presumption      Gets Presumption       Gets Presumption         Gets Presumption

                                                                                           Required to meet
     Secondary       Gets Presumption      Gets Presumption       Gets Presumption
                                                                                           Causation Nexus

                                                                  Required to meet         Required to meet
Tourism Industry     Gets Presumption      Gets Presumption
                                                                  Causation Nexus          Causation Nexus

                                                                  Required to meet         Required to meet
     Restaurants     Gets Presumption      Gets Presumption
                                                                  Causation Nexus          Causation Nexus

                                           Required to meet       Required to meet         Required to meet
  Other Industry     Gets Presumption
                                           Causation Nexus        Causation Nexus          Causation Nexus

                                            Seafood/Tourism            Seafood
      Causation       All Presumption                                                           Proof
                                              Presumption            Presumption


                                                                                                        14
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    Summary of Revenue Pattern Requirements for Causation Tests
                                                    Zone B
                                                                            Zone C
                                  Zone A       (Non-Tourism and                                      Zone D
                                                                         (Non-Seafood)
                                                 Non-Seafood)

Test
                                Down
                                             Down          Up            Down      Up         Down       Up
                                Up




V-Test                          N/A          -8.5%         5%            -8.5%     5%         -15%       10%




Modified V-Test*                N/A          -5%           5%            -5%       5%         -10%       7%




Down Only test*                 N/A          -8.50%        N/A           -8.50%    N/A        -15%       N/A


*= For the Modified V-Test and the Down Only Test, additional requirements apply, as described in Exhibits.


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  Business Economic Loss Framework
                                 April 20, 2010


 Benchmark Years                                   Compensation Period

                                               May Jun Jul Aug Sep Oct Nov Dec

        2007         2008        2009                                 2010



Benchmark Period same months                       Claimants Selects any 3 months or more
claimant selected for compensation                 consecutive
period averaged if use < 2009


                                                                                            16
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    Excluded Industries And Entities
• State Municipalities                        • Gaming Industry
• Opt Outs                                    • Insurance Industry
• Court Employees                             • Oil & Gas Industry
• BP (or other defendants)                    • Real Estate Developers
  Employees                                     or Sellers
• Banking Industry                            • BP Branded Fuel
• Funds, Trusts and Other                     • GCCF Fully Released
  Financial Vehicles                            Claims
• Defense Contractors and
  Their Sub-Contractors and
  Suppliers

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